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                                                            Magistrate Judge S. Kate Vaughan
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
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10                                                                     MJ23-232
     UNITED STATES OF AMERICA,                        CASE NO.
11
                               Plaintiff
12
                                                      COMPLAINT for VIOLATION
13
                         v.
14
     JOHNY MIXAYBOUA,                                 Title 18, U.S.C. §1708
15
                               Defendant.
16
17
18
19          BEFORE, S. Kate Vaughan, United States Magistrate Judge, U. S. Courthouse,
20 Seattle,Washington.
21          The undersigned complainant being duly sworn states:
22                                           COUNT ONE
23                                           (Mail Theft)
24          Beginning on a date unknown but continuing until on or about May 1, 2023, in
25 King County, within the Western District of Washington, the Defendant, JOHNY
26
27
     Complaint - 1                                                  UNITED STATES ATTORNEY
     United States v. Johny Mixayboua                              700 STEWART STREET, SUITE 5220
     USAO #2023R00139                                                SEATTLE, WASHINGTON 98101
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 1 MIXAYBOUA, knowingly and intentionally stole and took mail from a receptacle that
 2 was an authorized depository for mail matter.
 3          All in violation of Title 18, United States Code, Section 1708
 4                                             COUNT TWO
 5                                       (Possession of Stolen Mail)
 6          Beginning on a date unknown but continuing until on or about May 1, 2023, in
 7 King County, within the Western District of Washington, the Defendant, JOHNY
 8 MIXAYBOUA, did unlawfully have in his possession, mail, and articles that had been
 9 contained in mail, that had been stolen and taken from a receptacle that was an authorized
10 depository for mail matter, knowing that mail had been stolen and taken from a
11 receptacle that was an authorized depository for mail matter.
12          All in violation of Title 18, United States Code, Section 1708
13          And the complainant states that this Complaint is based on the following
14 information:
15          I, Kelsie P. Shaphren, being first duly sworn on oath, depose and say:
16                    AFFIANT BACKGROUND AND QUALIFICATIONS
17          1.       I am a Postal Inspector with the United States Postal Inspection Service
18 (USPIS). I am an “investigative or law enforcement officer of the United States” within
19 the meaning of Title 18, United States Code, Section 2510(7). I am currently assigned to
20 the USPIS Seattle Field Division in Seattle, WA.
21          2.       I began my federal law enforcement career in 2015 as a Records Examiner
22 Analyst for the Asset Forfeiture Unit at the Bureau of Alcohol, Tobacco, Firearms, and
23 Explosives (ATF). In 2017, I transferred to the Drug Enforcement Administration (DEA)
24 where I supervised the Seattle Division’s Asset Forfeiture Team. In 2022, I became a
25 Postal Inspector with USPIS and attended the 16-week Basic Inspector Training course in
26 Potomac, Maryland where I learned how to investigate and support the prosecution of
27 crimes related to the United States Postal Service (USPS) including mail theft, identify
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 1 theft, mail fraud, narcotics offenses, and violent crimes. Since then, I received advanced
 2 training in burglary, robbery and financial investigations. I am currently assigned to the
 3 Seattle Division’s Mail Theft and Mail Fraud Team. I am tasked with protecting the
 4 USPS’s employees, infrastructure, and customers.
 5          3.       I have obtained the facts set forth in this Affidavit through my personal
 6 participation in the investigation described below; from oral and written reports of other
 7 law enforcement officers; from witnesses and informants cooperating with law
 8 enforcement; and from records, documents and other evidence obtained during this
 9 investigation. I have obtained and read official reports prepared by law enforcement
10 officers participating in this investigation and in other investigations.
11                                      INVESTIGATION SUMMARY
12          4.       Since December 2022, USPIS has been investigating a string of mail theft
13 incidents involving stolen postal vehicles, stolen postal keys, mail theft, and associated
14 crimes such as identity theft and access device fraud in the Western District of
15 Washington. During the course of the investigation, I obtained footage and images
16 associated with these incidents and have been able to identify MIXAYBOUA as the
17 primary subject.
18                               SUMMARY OF PROBABLE CAUSE
19          5.       On December 28, 2022, a USPS Long Life Vehicle (LLV) #0204677 was
20 stolen from the vicinity of 6305 South Bangor Street, Seattle, WA 98178. Inspector Todd
21 Salter obtained security footage of the theft showing an unknown individual getting out
22 of a dark color Toyota 4 Runner and driving away in LLV #0204677. During the theft, a
23 postal key was stolen. The postal key accesses most cluster box units (CBU) mailboxes in
24 the 98178 ZIP code.
25
26
27
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 1          6.       Long Life Vehicles or LLVs are part of USPS fleet of vehicles used to
 2 deliver mail and parcels. The LLV is a boxy, right-handed drive vehicle commonly seen
 3 delivering mail to most neighborhoods.
 4          7.       CBUs are standalone multiple unit mailboxes, containing eight to sixteen
 5 individual customer compartments that may be accessed through a single-entry point by a
 6 postal employee, typically a letter carrier. Each customer box is accessed by the
 7 customer through an individually locked door. CBUs are commonly placed in apartment
 8 buildings and housing developments to allow a single point of delivery for the United
 9 States Postal Service. Through my training and experience as a Postal Inspector, I know
10 CBUs are secured using a master lock, called an Arrow Lock, that can only be opened
11 with a postal arrow key. Postal arrow keys allow a letter carrier to open an entire CBU,
12 giving them access to all of the mailboxes contained within. Mail thieves will often steal
13 or reproduce these keys in an effort to gain easy access to the boxes. There are two types
14 of keys that are used to open a CBU that are sometimes referred to as an “Arrow Key” or
15 “MAL Key.” These keys open CBUs in a particular area—usually a ZIP code. Postal
16 keys are the property of the US Government and USPS and are to be possessed and used
17 by only USPS employees.
18          8.       Since December 28, 2022, there have been numerous reports of CBUs
19 opened without damage throughout the 98178 ZIP code. On December 30, 2022, an
20 individual used a postal key to access mailboxes at Empire View Mobile Home Park
21 located at 5711 S 129th Street, Seattle, WA 98178. An individual affected by this theft,
22 S.A., submitted a mail theft complaint to USPIS. On January 17, 2023, I contacted S.A.
23 and obtained footage from the building’s security system of the incident. On the footage,
24 an individual, later identified as Johny MIXAYBOUA, accessed the CBU using a key.
25 He and an unknown male placed the mail taken from the CBU in a trash bag before
26 departing with the mail in a dark SUV, which appeared to be a Toyota 4 Runner.
27
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 1              9.        On December 30, 2022, S.P. reported a CBU located at 10757 68th Pl S in
 2 Seattle was opened in the early morning hours. S.P. found a license plate on the ground
 3 with pieces of discarded mail. The license plate was WA plate AHP6370, which returned
 4 to a stolen 1998 Toyota 4Runner from Seattle, WA.
 5              10.       On January 9, 2023, a CBU servicing 11421 80th Place South, Seattle WA
 6 98178, was broken into and mail was missing. I contacted J.S., a neighborhood who
 7 provided door camera footage of the incident. I reviewed the footage and observed an
 8 individual accessing the CBU and steal mail from within.1 J.S. also relayed that another
 9 resident, E.H., had his credit card stolen during the incident. Victim E.H. contacted me
10 via phone and email to report his Bank of America credit card ending in x4270 was
11 stolen. The credit card x4270 was delivered to 11421 80th Place South, Seattle WA
12 98178. I reviewed door camera footage, which shows a light-colored sedan pulling in
13 front of the mailbox at the time of the theft. Approximately two hours later, multiple
14 transactions were attempted using the card but were not completed. The attempted
15 transactions totaled $944.04, and are as follows:
16                    x   $858.76 charge at Car Toys Southcenter, Tukwila, WA.
17                    x $1.00 charge at Chevron in Tukwila, WA
18                    x $84.28 charge at Target in Tukwila, WA.
19              11.       I obtained security footage for the above-mentioned transaction for the
20 $84.28 charge at Target in Tukwila, WA showing an individual matching
21 MIXAYBOUA’s description using the self-checkout machine at the store. The credit card
22 charge was unsuccessful, and he used cash to complete the transaction. MIXAYBOUA
23 departed the store’s parking lot in a white Hyundai Genesis Coupe; this vehicle matches
24 the vehicle seen in surveillance at the 80th Place South theft.
25
26
27   1
         Due to the poor quality of the footage, I cannot ascertain whether this person is MIXAYBOUA or not.
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 1          12.     King County Sheriff’s Office Deputies reported to me a 2013 white
 2 Hyundai Genesis coupe with WA plate AZV8715 was reported as stolen. The registered
 3 owner reported the vehicle was stolen in the evening on January 1, 2023.This vehicle
 4 description matches the vehicle used by MIXAYBOUA at several mail theft incidents in
 5 the early part of January 2023. From my training and experience I know that mail theft
 6 suspects will often use stolen vehicles and stolen license plates when committing crimes
 7 in an effort to conceal their identities from law enforcement.
 8          13.     On January 17, 2023, two LLVs were stolen in Seattle, WA. Myself and
 9 other Inspectors responded to the first incident and identified LLV #0240237 was stolen
10 from 3000 Beach Drive SW, Seattle, WA 98116 at approximately 2:25 PM. The second
11 LLV theft, identified as LLV #0226180, was stolen from 3631 57th St SW, Seattle, WA
12 98116 at approximately 2:32 PM.
13          14.     During the investigation, I obtained home security footage from J.C. related
14 to the LLV thefts. I reviewed the footage and observed an individual matching
15 MIXAYBOUA’s description driving LLV #0240237. He parked the LLV in front of
16 J.C.’s residence. This is the location at which the LLV was recovered shortly after. At
17 approximately 2:31 PM, the video shows a person matching MIXAYBOUA’s description
18 transferring mail and parcels from the LLV to a purple Ford Ranger pickup truck with a
19 black canopy (“the Ford Ranger”). Also pictured was an unknown African American
20 male with braids wearing dark colored clothes and a pair of white over the ear
21 headphones (“Suspect 2”).
22          15.     Seattle Police Department informed USPIS about two witnesses who
23 observed two individuals moving mail between a pickup matching the Ford Ranger’s
24 description and another vehicle. Inspector Wiegand interviewed witness J.S. and K.M.
25 via phone who observed an individual matching MIXAYBOUA’s description and
26 Suspect 2 transferring mail between the Ford Ranger and a red Ford Mustang on the 5900
27 block of 37th Ave SW, between 2:30 PM and 3:00 PM.
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 1          16.      During the LLV thefts, victim E.K.’s credit card ending in x8915 was
 2 stolen. Shortly after the incident, victim E.K. reported multiple charges had been made on
 3 her credit card, totaling $645.18.
 4                x $63.76 charge at Chevron in Seattle, WA 98106.
 5                x $206.55 charge at Junction True Value in Seattle, WA 98116
 6                x $374.87 charge at By and By, a skate shop in Seattle, WA 98106.
 7          17.      I obtained security footage from Chevron and Junction True Value for the
 8 transactions. The Chevron footage showed a person I recognize as MIXAYBOUA
 9 attempting to purchase cigarettes before purchasing gas for a red Ford Mustang (WA-
10 CBL0125, “the Ford Mustang”) with victim E.K.’s credit card at approximately 4:19 PM.
11 Per the security footage, at approximately 4:50 PM, a person I recognize as
12 MIXAYBOUA arrived at Junction True Value in the Ford Mustang and used victim
13 E.K.’s credit card to purchase $206.55 worth of items. The Ford Mustang seen on the
14 footage with MIXAYBOUA as the driver matches the second vehicle the witnesses
15 described during the mail transfer on the 5900 block of 37th Avenue SW.
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     Complaint - 7                                                  UNITED STATES ATTORNEY
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                         MIXAYBOUA at Chevron on January 17, 2023 using Victim E.K.’s credit card
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23                     MIXAYBOUA at Chevron on January 17, 2023, with Ford Mustang WA-CBL0125

24          18.     On January 19, 2023, I shared photos of the suspect with other law
25 enforcement officers in an attempt to identify the suspect. I received a response from a
26 Department of Corrections Officer K. Neva identifying the suspect as Johny
27 MIXAYBOUA. I compared security footage to jail booking photos of MIXAYBOUA to
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 1 confirm he was the subject of this investigation. MIXAYBOUA’s booking photos show
 2 skin discoloration around on his face, arms, and hands, in addition to several distinctive
 3 tattoos on his forearms. The January 17th Chevron security video captured footage of
 4 MIXAYBOUA during the attempted bank card transaction, which showed several tattoos
 5 in the same place as the jail booking photo, as well as skin discoloration on his hands and
 6 forearms. Footage later obtained from Snoqualmie Casino, showed similar skin
 7 discoloration around the eyes which matches the jail booking photo for MIXAYBOUA.
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20     MIXAYBOUA Jail Booking Photo (March 2022)     MIXAYBOUA at Chevron on January 17, 2023

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22          19.     On January 30, 2023, at approximately 3:14 PM, LLV # 3300436 was
23 stolen from outside 2040 S Columbian Way, Seattle, WA 98108 and abandoned a short
24 time later at the intersection of S Dawson and 20th Avenue S. I obtained security footage
25 of the theft from J.A. The footage shows an individual matching MIXAYBOUA’s
26 description walking around the LLV before getting inside and driving away.
27
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 8                                               MIXAYBOUA approachs LLV door at 3:16:44 PM

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        MIXAYBOUA walking near LLV on
12            January 30, 2023

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19   MIXAYBOUA walks behind the bush and
     the door of the LLV opens at 3:16:49 PM.
     Five seconds later.                        At 3:17:02 PM, MIXAYBOUA drives the LLV away.
20
21          20.     Beginning on or about January 30, 2023, there were several incidents of
22 mail theft reported to the Snoqualmie Police Department. On January 30, 2023, resident
23 J.J. reported his mail was stolen from his CBU by an individual driving a red Ford
24 Mustang. J.J. shared home security footage showing a red Ford Mustang at the mailboxes
25 during the theft. From my training and experience I know that mail theft suspects will
26 often go to casinos after mail theft incidents in order to immediately use access devices
27 they have stolen. Inspectors contacted Snoqualmie Casino security to see if the red Ford
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 1 Mustang or MIXABOUA had recently been there. Casino security located surveillance
 2 images on the same date, showing a person matching the description of MIXAYBOUA
 3 arriving at the casino in the red Ford Mustang. MIXAYBOUA enters the casino and
 4 makes several unknown ATM transactions before departing in the Ford Mustang. Based
 5 on the driving time from the mail theft incidents and MIXAYBOUA’s arrival at the
 6 casino, I believe he is the same suspect seen on the security video provided by J.J.
 7          21.     On February 3, 2023, Postmaster D.E. contacted USPIS to report open
 8 mailboxes in Snoqualmie. Since there was no reported damage to the mailboxes, it was
 9 likely a counterfeit or authentic postal key being used to access the boxes.
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16                   MIXAYBOUA seen opening CBUs in Snoqualmie with the red Ford Mustang.

17          22.     On February 8, 2023, victim S.T. reported to the Snoqualmie PD their

18 Target credit card was stolen and activated. USPIS obtained security footage and receipts
19 for those transactions. The footage showed a person matching MIXAYBOUA’s
20 description exiting the store located at 2800 SW Barton Street, Seattle, WA 98106, after
21 using victim S.T.’s credit card on February 7, 2023. MIXAYBOUA purchased $2,343.72
22 worth of items using victim S.T.’s credit card.
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     Complaint - 11                                                       UNITED STATES ATTORNEY
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 8                 MIXAYBOUA at Target on SW Barton Street after using Victim S.T.’s credit card

 9          23.     During the investigation, USPIS Inspectors routinely surveilled addresses
10 associated with MIXAYBOUA to identify his current residence.
11          24.     On March 8, 2023, Inspector J. Wiegand was conducting surveillance when
12 he observed a person matching MIXAYBOUA’s description outside the residence
13 located at 10739 47th Avenue South, Tukwila, Washington (Residence). Inspector
14 Wiegand noted MIXAYBOUA was getting into a black Audi coupe with tinted windows.
15 Inspector Wiegand noted the license plate was obscured.
16          25.     The Residence was also determined to be the residence of a Jennifer
17 Gonzalez-Esquivel. She was linked to a $3,300 check stolen from an LLV in January
18 2023, when she attempted to cash the check at two locations—Money Tree in Burien,
19 WA, and EZ Cash in SeaTac, WA. During both attempts, Gonzalez-Esquivel presented
20 identification showing the Residence as her address. Both check cashing locations
21 provided high quality security footage that clearly showed Gonzalez-Esquivel in
22 possession of the check. Copies of the check were provided to the victim, D.H, and D.H.
23 verified issuing the check and sending it via US Mail to their customer, however the
24 check never arrived at its intended destination. D.H. also verified the check was altered to
25 show “Jennifer Gonzalez-Esquivel” as the payee. D.H. had no knowledge of who
26 Gonzalez-Esquivel was and did not give her permission to take or possess their mail.
27
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 1 Based on this information, investigators believe that is likely that MIXAYBOUA is
 2 working with Gonzalez-Esquivel; specifically, they believe that MIXAYBOUA likely
 3 provided Gonzalez-Esquivel with mail containing the check, which Gonzalez-Esquivel
 4 then attempted to cash.
 5          26.     On March 28, 2023, another LLV was stolen from Empire View Mobile
 6 Home Park at 5711 S 129th Ave, Seattle, WA 98178. I obtained security footage from the
 7 property manager, S.A. The footage showed a black Audi coupe (“the Audi”) pull up
 8 alongside the LLV and then two males exit the Audi. One of the males, who matches
 9 MIXAYBOUA’s description, gained entry into the LLV through the driver’s door, and
10 drove away while the other male followed in the Audi. The Audi appeared to have a
11 tinted bubble covering obscuring the rear license plate. This matches the description of
12 the Audi that Inspector Wiegand observed MIXAYBOUA driving on March 8th, 2023.
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21       MIXAYBOUA outside the LLV before the theft at Empire View Mobile Home Park on March 28, 2023

22          27.     On March 29, 2023, USPIS identified MIXAYBOUA as the suspect in a
23 Kirkland Police Department mail theft case. MIXAYBOUA used a stolen WA COVID-
24 19 Immigrant Relief prepaid credit card in transactions totaling $3,074.42 between
25 approximately February 22 and 25, 2023. One purchase occurred at Staples in Redmond,
26 WA on February 23, 2023. I obtained a copy of the receipt from Staples management,
27
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 1 which lists a Google Chrome book, a Brother brand printer, and check stock among the
 2 items purchased. From my training and experience I know these items may be used by
 3 criminal entities to forge checks. Suspects will use information of persons and businesses
 4 obtained during mail theft, as well as copying information from stolen checks onto new
 5 check stock, to commit financial crimes and steal money from a person’s or business’s
 6 bank account.
 7          28.     On April 14, 2023, USPIS began conducting a surveillance operation at the
 8 Residence. A person matching MIXAYBOUA’s description has been observed at the
 9 Residence numerous times since April 14, 2023.
10          29.     On April 16, 2023, MIXAYBOUA was seen at the Residence at
11 approximately 6:10 PM. While at the Residence, he removed items from a gray/silver Kia
12 Sportage with a possible temporary license plate in the rear window (“Kia Sportage”). He
13 then brought the items inside the Residence. MIXAYBOUA was seen wearing a dark
14 colored “Givenchy” sweatshirt.
15          30.     On April 17, 2023, MIXAYBOUA was seen visiting the Residence several
16 times. MIXAYBOUA was seen wearing a similar dark colored “Givenchy” sweatshirt as
17 the previous day. When MIXAYBOUA returned later in the day, he accessed a fenced to
18 another property located south of Residence, at 10802 47thAvenue South, Tukwila,
19 Washington. Several individuals were seen entering and bringing items into this location
20 regularly.
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27         MIXAYBOUA outside the Residence on April 17, 2023. He is wearing the “Givenchy” sweatshirt.”
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 1          31.     On April 18, 2023, Lake Forest Park Police Department Officer Jayson
 2 Benson obtained security footage from Woodland North Apartments located at 3611 NE
 3 155th Street in Lake Forest Park, WA. The footage showed an individual matching
 4 MIXAYBOUA’s description in the same “Givenchy” sweatshirt stealing mail from the
 5 apartment’s CBU using what appeared to be a key. The theft occurred at approximately
 6 3:42 AM.
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16   MIXAYBOUA at a CBU in Lake Forest Park, WA on April 18, 2023. The “HY” on the “Givenchy” sweatshirt is

17                                                  visible.

18          32.     On April 19, 2023, at approximately 6:20 pm, an individual matching
19 MIXAYBOUA’s description was seen arriving at the Residence in the Kia Sportage
20 wearing a sports jersey shirt. The Kia Sportage returned to the Residence on April 20,
21 2023, at approximately 5:42 AM. On April 20, 2023, Lake Forest Park Police
22 Department sent via email security footage stills of an individual matching
23 MIXAYBOUA’s description opening CBU’s that morning at approximately 4:45 AM.
24 The travel time between Lake Forest Park and Tukwila is on average 30 to 40 minutes at
25 that time of day, which fits the time frame of MIXAYBOUA opening cluster mailboxes
26 in Lake Forest Park and then arriving an hour later at the Residence.
27
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 1          33.     Later in the day on April 20, 2023, from the driver’s seat of the Kia
 2 Sportage outside the Residence, an individual matching MIXAYBOUA’s description
 3 handed an unknown male, who also frequents the Residence, a stack of white papers,
 4 roughly the size of an envelope.
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16        MIXAYBOUA inside the Kia Sportage handing an unknown male a stack of papers on April 20, 2023.

17          34.      On May 1, 2023, at approximately 8:58 PM, a person matching the
18 description of MIXAYBOUA used a postal key to enter an apartment building in Seattle,
19 WA, the Angeline Apartments located at 4801 Rainier Ave S. On May 3, 2023, K.B. sent
20 me building security footage of the incident. The Angeline Apartments are in the 98118
21 ZIP code indicating MIXAYBOUA has access to or possession of authentic or
22 counterfeit postal keys for the 98118 ZIP code.
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     Complaint - 16                                                           UNITED STATES ATTORNEY
     United States v. Johny Mixayboua                                        700 STEWART STREET, SUITE 5220
     USAO #2023R00139                                                          SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
             Case 2:23-mj-00232-SKV Document 1 Filed 05/16/23 Page 17 of 17




 1                                         CONCLUSION
 2          35.     Based on the above facts, I respectfully submit that there is probable cause
 3 to believe that JOHNY MIXAYBOUA violated the following federal offenses: Mail
 4 Theft and Possession of Stolen Mail, all in violation of Title 18, United States Code,
 5 Section 1708.
 6               7KLVFRPSODLQWDQGDIILGDYLW DUH EHLQJVXEPLWWHGYLDUHOLDEOHHOHFWURQLF
 7 PHDQV)HG5&ULP3  G  
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                                                       _______________________________
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                                                               _
 9                                                     KELSIE P. SHAPHREN,
                                                                   S              Complainant
10                                                     Postal Inspector, U.S. Postal Inspection
                                                       Service
11
12
13          7KHDERYHQDPHGDJHQWSURYLGHGDVZRUQVWDWHPHQWDWWHVWLQJWRWKHWUXWKRIWKH
14 FRQWHQWVRIWKHIRUHJRLQJDIILGDYLWE\WHOHSKRQH%DVHGRQWKH&RPSODLQWDQG$IILGDYLW
15 VZRUQWREHIRUHPHWKH&RXUWKHUHE\ILQGVWKDWWKHUHLVSUREDEOHFDXVHWREHOLHYHWKH
16 'HIHQGDQWFRPPLWWHGWKHRIIHQVHVVHWIRUWKLQWKH&RPSODLQW
17          Dated this 16th day of May, 2023.
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19
                                                       S KATE VAUGHAN
                                                       S.
20                                                     United States Magistrate Judge
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     USAO #2023R00139                                                 SEATTLE, WASHINGTON 98101
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